                           Case 3:22-cv-00348-JSC Document 10 Filed 02/08/22 Page 1 of 29



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                    12   LLC, AND AMAZON WEB SERVICES, INC.

                    13

                    14                                UNITED STATES DISTRICT COURT

                    15                             NORTHERN DISTRICT OF CALIFORNIA

                    16

                    17   MICHELE OBRIEN, as an individual and on          Case No. 3:22-cv-00348-JSC
                         behalf of others similarly situated,
                    18                                                    DEFENDANTS’ NOTICE OF MOTION
                                               Plaintiff,                 AND MOTION TO DISMISS OR
                    19                                                    STRIKE; MEMORANDUM OF POINTS
                                       vs.                                AND AUTHORITIES IN SUPPORT
                    20                                                    THEREOF
                         AMAZON.COM INC., a Delaware
                    21   corporation; AMAZON.COM SERVICES                 Date: April 7, 2022
                         LLC, a Delaware limited liability corporation;   Time: 9:00 a.m.
                    22   AMAZON WEB SERVICES, INC., a                     Dept.: Courtroom E – 15th Floor
                         Delaware corporation, and DOES 1 through         Hon. Jacqueline Scott Corley
                    23   100, inclusive,
                                                                          Action Filed: Dec. 15, 2021
                    24                         Defendants.

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 ATTORNEYS AT LAW                                                                             Case No. 3:22-cv-00348-JSC
  SAN FRANCISCO
                                                  DEFENDANTS’ MOTION TO DISMISS OR STRIKE
                           Case 3:22-cv-00348-JSC Document 10 Filed 02/08/22 Page 2 of 29



                     1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

                     2             Please take notice that on April 7, 2022, at 9:00 a.m., or as soon thereafter as counsel may

                     3   be heard before the Honorable Jacqueline Scott Corley, of the San Francisco Courthouse of the

                     4   above-entitled court, located at 450 Golden Gate Ave. San Francisco, CA 94102, Defendants

                     5   Amazon.com Inc., Amazon.com Services LLC, and Amazon Web Services, Inc. (collectively,

                     6   “Amazon”) will, and hereby do, move this Court pursuant to Fed. R. Civ. P. 12(b)(6) for an order

                     7   dismissing Plaintiff Michele Obrien’s Complaint for failure to state a claim upon which relief can

                     8   be granted, based on the following grounds:

                     9             1.     Plaintiff’s First Cause of Action for Age Discrimination in Violation of Fair
                    10   Employment and Housing Act (“FEHA”) fails to state a claim in accordance with Fed. R. Civ. P.

                    11   8 because Plaintiff does not set forth factual allegations sufficient to plausibly suggest Amazon

                    12   discriminated against her because of her age.

                    13             2.     Plaintiff’s Second Cause of Action for Failure to Prevent or Correct

                    14   Discrimination Under FEHA fails to state a claim in accordance with Fed. R. Civ. P. 8 because

                    15   Plaintiff does not set forth factual allegations sufficient to plausibly suggest that Amazon failed to

                    16   prevent or correct age discrimination.

                    17             3.     Plaintiff’s Third Cause of Action under California’s Unfair Competition Law

                    18   (“UCL”) fails to state a claim because Plaintiff does not allege a violation of FEHA, does not

                    19   allege that she lacks an adequate remedy at law, and does not have standing to seek equitable
                    20   relief.

                    21             4.     Plaintiff asserts individual and putative class claims that are time-barred.

                    22             5.     Plaintiff fails to state any class claims because Plaintiff does not set forth factual

                    23   allegations sufficient to plausibly suggest that she is similarly situated to the putative class she

                    24   purports to represent.

                    25             6.     Plaintiff fails to allege facts sufficient to plausibly suggest an employment

                    26   relationship with Defendant Amazon.com Inc. or Defendant Amazon Web Services, Inc.

                    27             Amazon also moves this Court pursuant to Fed. R. Civ. P. 12(f) and 23 to strike the class

                    28   allegations from Plaintiff’s Complaint on the grounds that Plaintiff’s conclusory allegations fail to
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  SAN FRANCISCO
                                                     DEFENDANTS’ MOTION TO DISMISS OR STRIKE
                           Case 3:22-cv-00348-JSC Document 10 Filed 02/08/22 Page 3 of 29



                     1   plausibly allege any class claim. Compl. ¶¶ 34-42, Prayer for Relief 1-3, and all references to

                     2   “Class Members.”

                     3          The Motion to Dismiss and Motion to Strike are based on this Notice of Motion, the

                     4   Memorandum of Points and Authorities, the pleadings on file herein and such arguments and

                     5   admissible evidence as may be presented at the time of hearing.

                     6
                         Dated: February 8, 2022                           MORGAN, LEWIS & BOCKIUS LLP
                     7

                     8
                                                                           By /s/ Brian D. Berry
                     9                                                        Brian D. Berry
                                                                              Sarah Zenewicz
                    10                                                        Anahi Cruz
                                                                              Attorneys for Defendants
                    11                                                        AMAZON.COM INC., AMAZON.COM
                                                                              SERVICES LLC, AND AMAZON WEB
                    12                                                        SERVICES, INC.
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MORGAN, LEWIS &
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 ATTORNEYS AT LAW                                                       -2-                        Case No. 3:22-cv-00348-JSC
  SAN FRANCISCO
                                                   DEFENDANTS’ MOTION TO DISMISS OR STRIKE
                               Case 3:22-cv-00348-JSC Document 10 Filed 02/08/22 Page 4 of 29



                     1                                                    TABLE OF CONTENTS

                     2                                                                                                                                    Page

                     3   I.       INTRODUCTION .............................................................................................................. 1
                     4   II.      SUMMARY OF ALLEGATIONS AND PROCEDURAL HISTORY ............................. 2
                                  A.   Plaintiff’s Employment at the Sycamore Canyon Warehouse in 2018 ................... 2
                     5
                                  B.   Plaintiff’s Employment at the Moreno Valley Fulfillment Center in 2019 ............ 3
                     6            C.   Plaintiff’s DFEH Charge and Complaint ................................................................ 3
                     7   III.     LEGAL STANDARD ......................................................................................................... 3
                         IV.      ARGUMENT ...................................................................................................................... 5
                     8
                                  A.   Plaintiff Pleads No Facts to Support an Inference of Intentional Age
                     9                 Discrimination (First Cause of Action) ................................................................... 5
                                            1.Amazon’s Age-Neutral Application of Its Productivity Standards Is
                    10                        the Opposite of Disparate Treatment Discrimination ................................. 6
                    11                2.      Plaintiff Alleges No Facts to Support an Inference of Age Animus ........... 7
                                      3.      Plaintiff Does Not Allege She Performed Her Job Competently ................ 8
                    12
                                  B.  The Complaint Fails to Plead Facts Sufficient to Support a Plausible
                    13                Disparate Impact Claim (First Cause of Action) .................................................... 9
                                      1.      Plaintiff Does Not Isolate and Identify a Specific Employment
                    14                        Practice to Challenge with a Disparate Impact Claim .............................. 10
                    15                2.      Plaintiff Alleges No Facts Regarding the Critical Causation
                                              Element ..................................................................................................... 11
                    16            C.  Plaintiff’s FEHA Claim for Failure to Prevent or Correct Discrimination
                                      Fails Along with Her Underlying Discrimination Claims (Second Cause of
                    17                Action)................................................................................................................... 12
                    18            D.  Plaintiff Cannot Maintain Her Claim for Violation of California’s Unfair
                                      Competition Law (Third Cause of Action) ........................................................... 13
                    19            E.  Plaintiff Cannot Pursue Time-Barred Individual and Class Claims ..................... 14
                    20            F.  The Court Should Strike or Dismiss the Class Claims Because the
                                      Complaint Pleads No Facts That Plausibly Suggest She Is Similarly
                    21                Situated to Members of the Class.......................................................................... 16
                                  G.  The Complaint Lacks Facts Sufficient to Support Claims Against
                    22                Amazon.com Inc. and Amazon Web Services, Inc ............................................... 18
                    23   V.       CONCLUSION ................................................................................................................. 19

                    24

                    25

                    26

                    27

                    28
MORGAN, LEWIS &
 BOCKIUS LLP
                                                                                           -i-                                  Case No. 3:22-cv-00348-JSC
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                            DEFENDANTS’ MOTION TO DISMISS OR STRIKE
                            Case 3:22-cv-00348-JSC Document 10 Filed 02/08/22 Page 5 of 29



                     1                                                  TABLE OF AUTHORITIES

                     2                                                                                                                                 Page(s)

                     3   FEDERAL CASES
                     4   Abdul-Haqq v. Kaiser Emergency in San Leandro
                     5      2017 WL 1549480 (N.D. Cal. May 1, 2017) .......................................................................... 13

                     6   Ahmed v. W. Ref. Retail, LLC
                            2021 WL 2548958 (C.D. Cal. 2021) ....................................................................................... 14
                     7
                         Airy v. City of Hesperia
                     8      2019 WL 8017811 (C.D. Cal. Sept. 13, 2019)........................................................................ 12
                     9   Alvarado v. Wal-mart Assocs., Inc.
                            2020 WL 6526372 (C.D. Cal. Aug. 7, 2020) .......................................................................... 17
                    10

                    11   Am. Fed’n of State, Cty., & Mun. Emps., AFL-CIO (AFSCME) v. State of Wash.
                            770 F.2d 1401 (9th Cir. 1985)............................................................................................. 7, 10
                    12
                         Andrade v. Arby’s Rest. Grp., Inc.
                    13      2015 WL 6689475 (N.D. Cal. Nov. 3, 2015).......................................................................... 18
                    14   Aplin v. Faurecia Interior Sys., Inc.
                            2020 WL 7017385 (E.D. Mich. July 30, 2020) ........................................................................ 6
                    15
                         Arizona ex rel. Horne v. Geo Grp., Inc.
                    16
                             816 F.3d 1189 (9th Cir. 2016)........................................................................................... 15, 16
                    17
                         Asencio v. Miller Brewing Co.
                    18      283 F. App’x. 559 (9th Cir. 2008) .......................................................................................... 13

                    19   Ashcroft v. Iqbal
                            556 U.S. 662 (2009) .............................................................................................................. 4, 7
                    20
                         Ayala v. Frito Lay, Inc.
                    21
                            263 F. Supp. 3d 891 (E.D. Cal. 2017) ..................................................................................... 13
                    22
                         Baker v. City of San Diego
                    23      463 F. Supp. 3d 1091 (S.D. Cal. 2020) ................................................................................... 12

                    24   Barnett v. Kapla
                            2020 WL 7428321 (N.D. Cal. Dec. 18, 2020) ........................................................................ 14
                    25
                         Barranco v. 3D Sys. Corp.
                    26      952 F.3d 1122 (9th Cir. 2020)................................................................................................. 13
                    27
                         Bayne v. Bowles Hall Found.
                    28      2021 WL 3426921 (N.D. Cal. Aug. 5, 2021).......................................................................... 18
MORGAN, LEWIS &
 BOCKIUS LLP
                                                                                           - ii -                                Case No. 3:22-cv-00348-JSC
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                             DEFENDANTS’ MOTION TO DISMISS OR STRIKE
                            Case 3:22-cv-00348-JSC Document 10 Filed 02/08/22 Page 6 of 29



                     1                                                  TABLE OF AUTHORITIES
                                                                              (continued)
                     2                                                                                                                                 Page(s)

                     3   Bell Atlantic Corp. v. Twombly
                             550 U.S. 544 (2007) .......................................................................................................... 3, 4, 7
                     4

                     5   Bush v. Vaco Tech. Servs., LLC
                            2018 WL 2047807 (N.D. Cal. May 2, 2018) .................................................................... 17, 18
                     6
                         Byrd v. Masonite Corp.
                     7      2016 WL 756523 (C.D. Cal. Feb. 25, 2016) ........................................................................... 18

                     8   Church v. Consol. Freightways, Inc.
                            137 F.R.D. 294 (N.D. Cal. 1991) ...................................................................................... 15, 16
                     9
                         Clausnitzer v. Fed. Express Corp.
                    10
                            2008 WL 11333470 (C.D. Cal. Mar. 18, 2008) ........................................................................ 9
                    11
                         Domingo v. New England Fish Co.
                    12     727 F.2d 1429 (9th Cir.).................................................................................................... 15, 16

                    13   Duarte v. Quality Loan Serv. Corp.
                            2018 WL 2121800 (C.D. Cal. May 8, 2018) .......................................................................... 11
                    14
                         Durante v. Qualcomm, Inc.
                    15      144 F. App’x. 603 (9th Cir. 2005) .......................................................................................... 10
                    16
                         Edwards v. Oportun, Inc.
                    17      193 F. Supp. 3d 1096 (N.D. Cal. 2016) .................................................................................... 5

                    18   Ellis v. Costco Wholesale Corp.
                             657 F.3d 970 (9th Cir. 2011)................................................................................................... 14
                    19
                         Enoh v. Hewlett Packard Enter. Co.
                    20      2018 WL 3377547 (N.D. Cal. July 11, 2018) ............................................................. 11, 12, 16
                    21
                         Fantasy, Inc. v. Fogerty
                    22      984 F.2d 1524 (9th Cir. 1993)................................................................................................... 5

                    23   Foreman v. Clear Channel Outdoor, Inc.
                            2010 WL 5069704 (N.D. Cal. Dec. 7, 2010) ............................................................................ 8
                    24
                         Fragada v. United Airlines, Inc.
                    25      2017 WL 4586933 .................................................................................................................. 13
                    26   Fresquez v. Cty. of Stanislaus
                    27      2014 WL 1922560 (E.D. Cal. May 14, 2014)........................................................................... 8

                    28
MORGAN, LEWIS &
 BOCKIUS LLP
                                                                                           - iii -                               Case No. 3:22-cv-00348-JSC
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                             DEFENDANTS’ MOTION TO DISMISS OR STRIKE
                            Case 3:22-cv-00348-JSC Document 10 Filed 02/08/22 Page 7 of 29



                     1                                                   TABLE OF AUTHORITIES
                                                                               (continued)
                     2                                                                                                                                   Page(s)

                     3   Hall v. Apartment Inv. & Mgmt. Co.
                            2011 WL 940185 (N.D. Cal. Feb. 18, 2011)........................................................................... 18
                     4

                     5   Harris v. Cty. of Orange
                            682 F.3d 1126 (9th Cir. 2012)................................................................................................. 15
                     6
                         Hassell v. Uber Techs., Inc.
                     7      2020 WL 7173218 (N.D. Cal. Dec. 7, 2020) .......................................................................... 13

                     8   Heredia v. TTM Techs. Inc.
                            2018 WL 3566869 (N.D. Cal. July 25, 2018) ........................................................................... 8
                     9
                         Hicks v. Netflix, Inc.
                    10
                            2020 WL 2463380 (C.D. Cal. Mar. 19, 2020) ........................................................................ 12
                    11
                         Hovsepian v. Apple, Inc.
                    12      2009 WL 5069144 (N.D. Cal. Dec. 17, 2009) .......................................................................... 5

                    13   In re Stac Elecs. Sec. Litig.
                             89 F.3d 1399 (9th Cir. 1996)..................................................................................................... 4
                    14
                         Int’l Bhd. of Teamsters v. United States
                    15       431 U.S. 324 (1977) .................................................................................................................. 9
                    16
                         Jianqing Wu v. Special Couns., Inc.
                    17       54 F. Supp. 3d 48 (D.D.C. 2014) .............................................................................................. 6

                    18   Jones v. Lewis
                            2020 WL 6149693 (N.D. Cal. Oct. 20, 2020) ........................................................................... 8
                    19
                         Jue v. Costco Wholesale Corp.
                    20      2010 WL 889284 (N.D. Cal. Mar. 11, 2010) .......................................................................... 16
                    21
                         Lacayo v. Donahoe
                    22      2015 WL 993448 (N.D. Cal. Mar. 4, 2015) .............................................................................. 8

                    23   Marquez v. Am. Red Cross
                           2009 WL 10673156 (C.D. Cal. Nov. 5, 2009) .......................................................................... 8
                    24
                         Mendiondo v. Centinela Hosp. Med. Ctr.
                    25     521 F.3d 1097 (9th Cir. 2008)................................................................................................... 4
                    26   Moss v. U.S. Secret Serv.
                    27     572 F.3d 962 (9th Cir. 2009)................................................................................................. 4, 7

                    28
MORGAN, LEWIS &
 BOCKIUS LLP
                                                                                            - iv -                                Case No. 3:22-cv-00348-JSC
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                              DEFENDANTS’ MOTION TO DISMISS OR STRIKE
                            Case 3:22-cv-00348-JSC Document 10 Filed 02/08/22 Page 8 of 29



                     1                                                  TABLE OF AUTHORITIES
                                                                              (continued)
                     2                                                                                                                                Page(s)

                     3   Parcinski v. Outlet Co.
                            673 F.2d 34 (2d Cir. 1982) ........................................................................................................ 6
                     4

                     5   Rasmussen v. Apple Inc.
                            27 F. Supp. 3d 1027 (N.D. Cal. 2014) ...................................................................................... 5
                     6
                         Rhodes v. Adams & Assocs., Inc.
                     7      817 F. App’x. 508 (9th Cir. 2020) ............................................................................................ 5

                     8   Sanders v. Apple Inc.
                            672 F. Supp. 2d 978 (N.D. Cal. 2009) ...................................................................................... 5
                     9
                         Sidlow v. Nexstar Broad., Inc.
                    10
                             2015 WL 1044763 (E.D. Cal. Mar. 10, 2015) .......................................................................... 8
                    11
                         Slayman v. FedEx Ground Package Sys., Inc.
                    12      765 F.3d 1033 (9th Cir. 2014)................................................................................................. 14

                    13   Smith v. City of Jackson
                            544 U.S. 228 (2005) ............................................................................................................ 9, 10
                    14
                         Sonner v. Premier Nutrition Corp.
                    15      971 F.3d 834 (9th Cir. 2020)................................................................................................... 13
                    16
                         Starr v. Baca
                    17       652 F.3d 1202 (9th Cir. 2011)................................................................................................... 4

                    18   Stockwell v. City & Cty. of San Francisco
                            749 F.3d 1107 (9th Cir. 2014)......................................................................................... 5, 9, 10
                    19
                         Streets v. Space Sys./Loral, LLC
                    20       2021 WL 4146962 (N.D. Cal. Sept. 13, 2021) ........................................................... 14, 15, 16
                    21
                         Trazo v. Nestle USA, Inc.
                    22      2013 WL 4083218 (N.D. Cal. Aug. 9, 2013)............................................................................ 5

                    23   Valencia v. N. Star Gas Co.
                            291 F. Supp. 3d 1155 (S.D. Cal. 2018) ................................................................................... 18
                    24
                         Vizcaino v. Areas USA, Inc.
                    25      2015 WL 13573816 (C.D. Cal. Apr. 17, 2015) ........................................................................ 9
                    26   W. Mining Council v. Watt
                    27      643 F.2d 618 (9th Cir. 1981)..................................................................................................... 4

                    28
MORGAN, LEWIS &
 BOCKIUS LLP
                                                                                           -v-                                  Case No. 3:22-cv-00348-JSC
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                             DEFENDANTS’ MOTION TO DISMISS OR STRIKE
                            Case 3:22-cv-00348-JSC Document 10 Filed 02/08/22 Page 9 of 29



                     1                                                    TABLE OF AUTHORITIES
                                                                                (continued)
                     2                                                                                                                                      Page(s)

                     3   Wal–Mart Stores, Inc. v. Dukes
                            564 U.S. 338 (2011) .......................................................................................................... 14, 17
                     4

                     5   Whitsitt v. Barbosa
                            2007 WL 1725487 (E.D. Cal. June 14, 2007)........................................................................... 6
                     6
                         Wood v. City of San Diego
                     7     2010 WL 2382335 (S.D. Cal. June 10, 2010) ........................................................................... 7

                     8   Wood v. City of San Diego
                           678 F.3d 1075 (9th Cir. 2012)................................................................................................... 7
                     9
                         Zamora v. Penske Truck Leasing Co., L.P.
                    10
                            2021 WL 809403 (C.D. Cal. 2021) ............................................................................... 4, 16, 17
                    11
                         CALIFORNIA CASES
                    12
                         Guz v. Bechtel Nat. Inc.
                    13      24 Cal. 4th 317 (2000) .......................................................................................................... 6, 7
                    14   Korea Supply Co. v. Lockheed Martin Corp.
                            29 Cal. 4th 1134 (2003) .......................................................................................................... 14
                    15
                         Mahler v. Jud. Council of California
                    16
                           67 Cal. App. 5th 82 (2021).................................................................................................. 9, 11
                    17
                         Trujillo v. North County Transit Dist.
                    18      63 Cal. App. 4th 280 (1998).................................................................................................... 12

                    19   Vernon v. State
                            116 Cal. App. 4th 114 (2004).................................................................................................. 18
                    20
                         FEDERAL STATUTES
                    21

                    22   ADEA................................................................................................................................ 6, 7, 9, 16

                    23   CALIFORNIA STATUTES

                    24   2017 Cal. Legis. Serv. Chapter 799 ........................................................................................ 14, 15

                    25   California Business & Professions Code § 17200, et seq. ..................................................... passim

                    26   California Government Code § 12960 .................................................................................... 14, 15
                    27   California’s Fair Employment and Housing Act ................................................................... passim
                    28
MORGAN, LEWIS &
 BOCKIUS LLP
                                                                                              - vi -                                 Case No. 3:22-cv-00348-JSC
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                               DEFENDANTS’ MOTION TO DISMISS OR STRIKE
                           Case 3:22-cv-00348-JSC Document 10 Filed 02/08/22 Page 10 of 29



                     1                                                      TABLE OF AUTHORITIES
                                                                                  (continued)
                     2                                                                                                                                          Page(s)

                     3   OTHER AUTHORITIES
                     4   2 C.C.R § 11074 ............................................................................................................................ 12
                     5
                         Assembly Bill 9 ............................................................................................................................. 14
                     6
                         Fed. R. Civ. P. 23 ............................................................................................................................ 5
                     7
                         Rule 12(b)(6) .......................................................................................................................... passim
                     8
                         Rule 12(f) .................................................................................................................................... 2, 5
                     9
                    10

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                    28
MORGAN, LEWIS &
 BOCKIUS LLP
                                                                                               - vii -                                  Case No. 3:22-cv-00348-JSC
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                                DEFENDANTS’ MOTION TO DISMISS OR STRIKE
                              Case 3:22-cv-00348-JSC Document 10 Filed 02/08/22 Page 11 of 29



                     1   I.       INTRODUCTION

                     2            Based on nothing but bare conclusions, Plaintiff Michele Obrien asserts age

                     3   discrimination claims under California’s Fair Employment and Housing Act (“FEHA”) against

                     4   Defendants Amazon.com Inc., Amazon.com Services LLC, and Amazon Web Services, Inc.

                     5   (collectively, “Amazon”). She purports to represent a sprawling and amorphous class of every

                     6   older employee at an Amazon warehouse or fulfillment center in California who worked under

                     7   “any policy or practice of Amazon regarding ‘rate of production’ for their work and/or work

                     8   production quotas,” since December 15, 2017.1 Compl. ¶ 34. According to Plaintiff, these

                     9   productivity standards trigger adverse employment actions ranging from reprimands to demotions

                    10   to terminations—more often for older workers than younger workers. Plaintiff generically alleges

                    11   that Amazon uses productivity standards to intentionally discriminate against all older workers

                    12   statewide and that Amazon’s use of these standards has a substantially disproportionate adverse

                    13   impact on older workers. But Plaintiff’s threadbare allegations are nowhere near enough to state

                    14   a claim for relief.

                    15            Plaintiff’s disparate treatment claim stands discrimination law on its head. According to

                    16   the Complaint, Amazon applied its productivity standards equally to all employees regardless of

                    17   their ages but should have “adjusted or altered” the standards to accommodate older workers.

                    18   Compl. ¶¶ 21, 29. Not surprisingly, the Complaint contains no allegation that age motivated

                    19   Amazon’s use of productivity standards, which dooms her disparate treatment claim.

                    20            Plaintiff’s disparate impact claim fares no better. She fails to isolate and identify any

                    21   specific employment practice to challenge, opting instead to vaguely attack all employment

                    22   practices that somehow relate to productivity standards. She also pleads no figure, statistic,

                    23   document, anecdote—nothing—to support a plausible inference that Amazon’s productivity

                    24   standards disproportionately affect older workers. Without allegations to satisfy the critical

                    25   causation element, she is left with nothing but her own stereotype that older workers “cannot keep

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                          Amazon uses the term “older” herein to refer to individuals who are 40 years old or older, and it
                    28   uses the term “younger” to refer to individuals who are under 40 years old.
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 ATTORNEYS AT LAW                                                                                      Case No. 3:22-cv-00348-JSC
  SAN FRANCISCO
                                                     DEFENDANTS’ MOTION TO DISMISS OR STRIKE
                           Case 3:22-cv-00348-JSC Document 10 Filed 02/08/22 Page 12 of 29



                     1   up” with younger workers. Compl. ¶¶ 22, 24, 25, 30, 31. But this mantra, repeated time and

                     2   again in the Complaint, is no substitute for substantial factual allegations.

                     3            Other pleading defects abound in the Complaint. It purports to state time-barred

                     4   individual and class claims; asserts a UCL claim for which Plaintiff lacks standing; pursues class

                     5   claims without a shred of support for her conclusion that Plaintiff is similarly situated to all

                     6   Amazon warehouse and fulfillment center employees across the state; and speculates that

                     7   Defendant Amazon.com, Inc. and Defendant Amazon Web Services, Inc. employed her.

                     8            Thus, Amazon respectfully requests an order granting relief under Rule 12(b)(6) and Rule

                     9   12(f).
                    10   II.      SUMMARY OF ALLEGATIONS AND PROCEDURAL HISTORY
                    11            A.     Plaintiff’s Employment at the Sycamore Canyon Warehouse in 2018.
                    12            Plaintiff alleges that she had two separate tenures working for Amazon in California.

                    13   Compl. ¶¶ 19, 28. First, when she was 48 years old, she worked at a warehouse facility in

                    14   Sycamore Canyon, California for a month or less in October 2018. Id. ¶¶ 19, 26. Amazon

                    15   required her and other warehouse employees to meet “‘rate of production’ and/or work

                    16   production quotas” for their work “packing, stowing, and sorting . . . packages and filling and

                    17   emptying . . . boxes and bins and containers.” Id. ¶ 23. Amazon applied the same productivity

                    18   standards to all employees regardless of their ages. Id. ¶ 21 (“Amazon did not adjust or alter this

                    19   ‘rate of production’ and/or work production quota to account for Ms. Obrien’s or other
                    20   employees’ age and the ‘rate of production’ and/or work production quota was applied to

                    21   employees below the age of 40 at the same rate.”) According to Plaintiff’s allegations, the

                    22   productivity standards at the Sycamore Canyon warehouse caused her and other older employees

                    23   to suffer work-related injuries and to experience significant stress from supervisors’ criticisms

                    24   and reprimands. Id. ¶¶ 24, 25. Plaintiff also alleges that the productivity standards caused

                    25   transfers, demotions, and terminations at a higher rate for older employees than younger

                    26   employees. Id. ¶ 47. Amazon terminated Plaintiff’s employment at the Sycamore Canyon facility

                    27   because she was “not able to meet” the productivity standards. Id. ¶ 26.

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  SAN FRANCISCO
                                                    DEFENDANTS’ MOTION TO DISMISS OR STRIKE
                          Case 3:22-cv-00348-JSC Document 10 Filed 02/08/22 Page 13 of 29



                     1          B.      Plaintiff’s Employment at the Moreno Valley Fulfillment Center in 2019.

                     2          Only a year later, in 2019, when Plaintiff was 49 years old, Amazon rehired her to work at

                     3   a fulfillment center in Moreno Valley. Id. ¶ 28. Plaintiff alleges that the productivity standards at

                     4   the Moreno Valley fulfillment center caused her and other older employees to suffer work-related

                     5   injuries and to experience significant stress from supervisors’ criticisms and reprimands, and that

                     6   the productivity standards caused older employees to suffer higher rates of transfers, demotions

                     7   and terminations. Id. ¶¶ 31, 33, 47. When Plaintiff failed to meet the productivity standards at

                     8   the Moreno Valley fulfillment center, which applied to all employees regardless of age, Amazon

                     9   terminated her, in October 2019. Id. ¶¶ 29, 30, 32.

                    10          C.      Plaintiff’s DFEH Charge and Complaint.

                    11          On October 4, 2021, Plaintiff submitted an administrative charge to the Department of

                    12   Fair Employment and Housing (“DFEH”) against Defendants Amazon.com Inc., Amazon.com

                    13   Services LLC, and Amazon Web Services Inc. Compl. ¶ 18.

                    14          On December 15, 2021, Plaintiff filed her Class Action Complaint for Damages, alleging

                    15   claims for: (1) age discrimination in violation of FEHA; (2) failure to prevent or correct

                    16   discrimination under FEHA; and (3) unfair business practices in violation of California Business

                    17   & Professions Code section 17200, et seq. (“UCL”). The “failure to prevent or correct” claim and

                    18   the UCL claim are derivative of her discrimination claims. Plaintiff seeks to represent “all

                    19   current and former employees of Amazon, aged 40 or older, who worked at Amazon warehouses

                    20   or fulfillment centers in California and who have been or continue to be subjected to, or had to

                    21   meet, any policy or practice of Amazon regarding ‘rate of production’ for their work and/or work

                    22   production quotas, during the period from December 15, 2017 to the present[.]” Compl. ¶ 34.

                    23   III.   LEGAL STANDARD

                    24          A motion to dismiss under Rule 12(b)(6) tests the legal sufficiency of a complaint’s

                    25   allegations. A court must dismiss a claim unless the complaint articulates “enough facts to state a

                    26   claim to relief that is plausible on its face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570

                    27   (2007); Fed. R. Civ. P. 12(b)(6). The “plausibility standard is not akin to a ‘probability

                    28   requirement,’ but rather, it asks for more than a sheer possibility that a defendant has acted
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  SAN FRANCISCO
                                                   DEFENDANTS’ MOTION TO DISMISS OR STRIKE
                          Case 3:22-cv-00348-JSC Document 10 Filed 02/08/22 Page 14 of 29



                     1   unlawfully” or “facts that are ‘merely consistent with’ a defendant’s liability.” Ashcroft v. Iqbal,

                     2   556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 556-57). A complaint must contain

                     3   “more than labels and conclusions” or “a formulaic recitation of the elements of a cause of

                     4   action.” Twombly, 550 U.S. at 555; Moss v. U.S. Secret Serv., 572 F.3d 962, 969 (9th Cir. 2009)

                     5   (“[B]are assertions… amounting to nothing more than a ‘formulaic recitation of the elements’” of

                     6   a claim “are not entitled to an assumption of truth” (quoting Iqbal, 556 U.S. at 681). Therefore,

                     7   the Court may not “assume the truth of legal conclusions merely because they are cast in the form

                     8   of factual allegations.” W. Mining Council v. Watt, 643 F.2d 618, 624 (9th Cir. 1981); In re Stac

                     9   Elecs. Sec. Litig., 89 F.3d 1399, 1403 (9th Cir. 1996) (holding “[c]onclusory allegations of law
                    10   and unwarranted inferences are insufficient to defeat a motion to dismiss for failure to state a

                    11   claim.”).

                    12           The Court considers whether the pleading’s “factual content… allows the court to draw

                    13   the reasonable inference that the defendant is liable for the misconduct alleged,” such that “it is

                    14   not unfair to require the opposing party to be subjected to the expense of discovery and continued

                    15   litigation.” Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011). Dismissal is required when a

                    16   complaint lacks a cognizable legal theory or fails to allege facts sufficient to support a cognizable

                    17   legal theory. Twombly, 550 U.S. at 555; Mendiondo v. Centinela Hosp. Med. Ctr., 521 F.3d

                    18   1097, 1104 (9th Cir. 2008); Fed. R. Civ. P. 12(b)(6).

                    19           In a putative class action, the plausibility standard under Twombly applies not only to the
                    20   named plaintiff’s individual claims, but also to the class claims. Mish v. TForce Freight, Inc.,

                    21   2021 WL 4592124, at *8 (N.D. Cal. Oct. 6, 2021) (observing that “district courts do dismiss class

                    22   allegations on a 12(b)(6) motion, applying the Twombly/Iqbal standard, where the complaint

                    23   lacks any factual allegations and reasonable inferences that establish the plausibility of class

                    24   allegations,” and dismissing class allegations); Zamora v. Penske Truck Leasing Co., L.P., 2021

                    25   WL 809403, at *3 (C.D. Cal. 2021) (dismissing class claims because “Plaintiffs do not assert any

                    26   factual support for their class allegations. . . Plaintiffs cannot point to a fish in the surf to force

                    27   Defendant on a deep-sea charter [of class discovery]”).

                    28           Class allegations are also the proper subject of a motion to strike. Under Rule 12(f), “the
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  SAN FRANCISCO
                                                     DEFENDANTS’ MOTION TO DISMISS OR STRIKE
                          Case 3:22-cv-00348-JSC Document 10 Filed 02/08/22 Page 15 of 29



                     1   court may strike from a pleading any redundant, immaterial, impertinent, or scandalous matter.”

                     2   Fed R. Civ. P. 12(f). The purpose of such a motion is “to avoid the expenditure of time and

                     3   money that must arise from litigating spurious issues by dispensing with those issues prior to

                     4   trial.” Fantasy, Inc. v. Fogerty, 984 F.2d 1524, 1527 (9th Cir. 1993), overruled on other grounds,

                     5   510 U.S. 517 (1994) (quoting Sidney–Vinstein v. A.H. Robins Co., 697 F.2d 880, 885 (9th Cir.

                     6   1983)).

                     7             Class allegations “must at least be plausible” or else a court may strike them. Edwards v.

                     8   Oportun, Inc., 193 F. Supp. 3d 1096, 1100 (N.D. Cal. 2016); Sanders v. Apple Inc., 672 F. Supp.

                     9   2d 978, 990 (N.D. Cal. 2009) (holding that “[w]here the complaint demonstrates that a class
                    10   action cannot be maintained on the facts alleged, a defendant may move to strike class allegations

                    11   prior to discovery.”); Rasmussen v. Apple Inc., 27 F. Supp. 3d 1027, 1045-46 (N.D. Cal. 2014)

                    12   (granting motion to strike class definition on the ground it included class members who did not

                    13   experience the alleged legal violations). Under “Rules 23(c)(1)(A) and 23(d)(1)(D), as well as

                    14   pursuant to Rule 12(f), this Court has authority to strike class allegations prior to discovery if the

                    15   complaint demonstrates that a class action cannot be maintained.” Hovsepian v. Apple, Inc., 2009

                    16   WL 5069144, at *2 (N.D. Cal. Dec. 17, 2009). For “class action allegations to survive [a motion

                    17   to strike], the complaint must make a prima facie showing that Fed. R. Civ. P. 23(a) and 23(b) can

                    18   be satisfied.” Trazo v. Nestle USA, Inc., 2013 WL 4083218, at *11 (N.D. Cal. Aug. 9, 2013).

                    19   IV.       ARGUMENT
                    20             A.     Plaintiff Pleads No Facts to Support an Inference of Intentional Age
                    21                    Discrimination (First Cause of Action).
                                   “[T]he crux of a disparate treatment case is the subjective motivation for an adverse
                    22
                         employment decision.” Stockwell v. City & Cty. of San Francisco, 749 F.3d 1107, 1115, n.4 (9th
                    23
                         Cir. 2014) (emphasis original). To state a claim for discrimination under FEHA, “a plaintiff must
                    24
                         plausibly allege that he (1) was a member of a protected class; (2) was performing competently;
                    25
                         (3) suffered an adverse employment action; and (4) circumstances suggest a discriminatory
                    26
                         motive.” Rhodes v. Adams & Assocs., Inc., 817 F. App’x. 508, 509 (9th Cir. 2020) (quoting
                    27
                         Wilson v. Cable News Network, Inc., 7 Cal. 5th 871, 885 (2019)) (internal quotes omitted); Guz v.
                    28
MORGAN, LEWIS &
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 ATTORNEYS AT LAW                                                          -5-                        Case No. 3:22-cv-00348-JSC
  SAN FRANCISCO
                                                     DEFENDANTS’ MOTION TO DISMISS OR STRIKE
                          Case 3:22-cv-00348-JSC Document 10 Filed 02/08/22 Page 16 of 29



                     1   Bechtel Nat. Inc., 24 Cal. 4th 317, 355 (2000).

                     2          Here, Plaintiff’s disparate treatment claim fails because she does not plead that Amazon

                     3   applied the productivity standards differently to older and younger workers, that age motivated

                     4   Amazon’s use of productivity standards, or that she suffered an adverse employment action

                     5   despite performing her job competently.

                     6                  1.      Amazon’s Age-Neutral Application of Its Productivity Standards Is
                                                the Opposite of Disparate Treatment Discrimination.
                     7

                     8          Plaintiff admits that Amazon applied its productivity standards equally to all employees

                     9   regardless of their ages. Compl. ¶ 21 (“the ‘rate of production’ and/or work production quota [at

                    10   the Sycamore Canyon warehouse] was applied to employees below the age 40 at the same rate”),

                    11   ¶ 29 (same regarding the Moreno Valley fulfillment center), ¶ 46 (alleging “uniform application”

                    12   of production standards regardless of age). Nonetheless, she argues that Amazon’s equal

                    13   treatment of older and younger workers constitutes intentional age discrimination because

                    14   Amazon does not “adjust or alter” its productivity standards “to account for [Plaintiff’s] or other

                    15   employees’ age.” Id. ¶¶ 21, 29. As a matter of law and commonsense, however, “[t]hat is not

                    16   actionable discrimination.” Jianqing Wu v. Special Couns., Inc., 54 F. Supp. 3d 48, 53 (D.D.C.

                    17   2014) (dismissing job applicant’s claim under the ADEA predicated on the theory that it was

                    18   unfair to treat older job applicants the same as younger job applicants by “fail[ing] to factor in

                    19   valuable experience of old and experienced candidates”); Whitsitt v. Barbosa, 2007 WL 1725487,

                    20   at *2 (E.D. Cal. June 14, 2007) (where plaintiff alleged his employer “require[ed] him to produce

                    21   work product at the level of a person half his age,” dismissing age discrimination claim because

                    22   “[i]t appears plaintiff was seeking preferential treatment with regard to work demands based on

                    23   plaintiff's age. However, neither the ADEA or California’s Fair Employment and Housing Act

                    24   contemplate preferential treatment; both require that the person must be satisfactorily performing

                    25   the job.”), report and recommendation adopted, 2007 WL 2086758 (E.D. Cal. July 18, 2007); see

                    26   also, Parcinski v. Outlet Co., 673 F.2d 34, 37 (2d Cir. 1982) (“The ADEA does not require an

                    27   employer to accord special treatment to employees over forty years of age.”); Aplin v. Faurecia

                    28   Interior Sys., Inc., 2020 WL 7017385, at *7 (E.D. Mich. July 30, 2020), report and
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 ATTORNEYS AT LAW                                                          -6-                       Case No. 3:22-cv-00348-JSC
  SAN FRANCISCO
                                                   DEFENDANTS’ MOTION TO DISMISS OR STRIKE
                             Case 3:22-cv-00348-JSC Document 10 Filed 02/08/22 Page 17 of 29



                     1   recommendation adopted, 2020 WL 6268448 (E.D. Mich. Oct. 26, 2020) (“[T]he ADEA was not

                     2   intended to entitle older employees to better treatment than younger employees.”) (citing Slenzka

                     3   v. Landstar Ranger, Inc., 122 Fed. App’x. 809, 813 (6th Cir. 2004)).2

                     4                  2.      Plaintiff Alleges No Facts to Support an Inference of Age Animus.
                     5           Beyond the non-cognizable theory that FEHA requires Amazon to provide preferential
                     6   treatment to older employees, the Complaint is devoid of allegations that age motivated
                     7   Amazon’s use of productivity standards. Plaintiff asserts only that “older employees could not
                     8   meet the ‘rate of production’ and/or quota the way younger employees could” and that Amazon
                     9   “knew” about this purported performance disparity. Compl. ¶ 46. Such “naked assertions”
                    10   without “further factual enhancement” do not figure into the Court’s analysis under Rule
                    11   12(b)(6). Iqbal, 556 U.S. at 678 (internal quotes omitted). Thus, the Court must dismiss the
                    12   disparate treatment claim for this reason alone. Id. Twombly, 550 U.S. at 570; Moss, 572 F.3d at
                    13   969.
                    14           Setting aside the Complaint’s Twombly/Iqbal deficiencies, Plaintiff’s disparate treatment
                    15   theory is ill-conceived: a claim for intentional discrimination hinges on an employer’s subjective
                    16   motivation—not its knowledge. Am. Fed’n of State, Cty., & Mun. Emps., AFL-CIO (AFSCME) v.
                    17   State of Wash., 770 F.2d 1401, 1405 (9th Cir. 1985) (“[i]t is insufficient for a plaintiff alleging
                    18   discrimination under the disparate treatment theory to show the employer was merely aware of
                    19   the adverse consequences the policy would have on a protected group.”); Wood v. City of San
                    20   Diego, 2010 WL 2382335, at *6 (S.D. Cal. June 10, 2010) (a plaintiff “must establish that the
                    21   defendant implemented the policy ‘because of, not merely in spite of,’ its adverse effects on the
                    22   protected group”) (quoting Personnel Adm'r of Massachusetts v. Feeney, 442 U.S. 256, 279
                    23   (1979)), aff’d, 678 F.3d 1075 (9th Cir. 2012). Because the Complaint contains no allegation that
                    24   suggests age animus underlies Amazon’s use of productivity standards, the Court must dismiss
                    25   the disparate treatment claim for this reason as well. See, e.g., Wood v. City of San Diego, 678
                    26   F.3d 1075, 1081-82 (9th Cir. 2012) (affirming dismissal because “[w]here, as here, a plaintiff is
                    27
                         2
                          California courts look to federal precedent when interpreting the discrimination provisions of
                    28   FEHA. Guz, 24 Cal. 4th at 354.
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  SAN FRANCISCO
                                                    DEFENDANTS’ MOTION TO DISMISS OR STRIKE
                             Case 3:22-cv-00348-JSC Document 10 Filed 02/08/22 Page 18 of 29



                     1   challenging a facially neutral policy, there must be a specific allegation of discriminatory intent.

                     2   We agree with the district court that [plaintiff]’s disparate treatment claim must be dismissed

                     3   under Rule 12(b)(6).”); Jones v. Lewis, 2020 WL 6149693, at *3 (N.D. Cal. Oct. 20, 2020)

                     4   (dismissing disparate treatment claim based on a facially neutral policy because the complaint

                     5   lacked “a specific allegation of discriminatory intent”); Marquez v. Am. Red Cross, 2009 WL

                     6   10673156, at *4 (C.D. Cal. Nov. 5, 2009) (dismissing age discrimination claim because the

                     7   plaintiff did not plead facts that suggest “either directly or through reasonable inference a

                     8   discriminatory animus for his termination.”).3

                     9                  3.      Plaintiff Does Not Allege She Performed Her Job Competently.
                    10           According to the Complaint, Plaintiff “could not keep up” with the productivity standards

                    11   at the Sycamore Canyon warehouse or the Moreno Valley fulfillment center, Compl. ¶¶ 22, 30,

                    12   and she faults Amazon for failing to “adjust or alter” these standards to account for her age. Id.

                    13   ¶¶ 21, 29. But she pleads nothing about the actual productivity standards that Amazon applied to

                    14   her, and her generic allegations that the standards were too onerous do not satisfy her obligation

                    15   to plead non-conclusory facts that suggest she performed her job competently. See, e.g., Foreman

                    16   v. Clear Channel Outdoor, Inc., 2010 WL 5069704, at *3 (N.D. Cal. Dec. 7, 2010) (dismissing

                    17   disparate treatment claim where plaintiffs “d[id] not plead that they competently performed their

                    18   jobs”); Fresquez v. Cty. of Stanislaus, 2014 WL 1922560, at *5 (E.D. Cal. May 14, 2014)

                    19   (dismissing disparate treatment claim because plaintiff’s “threadbare assertion that she was
                    20

                    21   3
                           See also, e.g., Heredia v. TTM Techs. Inc., 2018 WL 3566869, at *3 (N.D. Cal. July 25, 2018)
                         (dismissing age discrimination claim because “while the Complaint alleges that [the plaintiff] was
                    22
                         not selected for a machine operator position for which he was qualified, it contains no factual
                    23   allegations showing that the denial of his job application was due to his age.”); Lacayo v.
                         Donahoe, 2015 WL 993448, at *15 (N.D. Cal. Mar. 4, 2015) (dismissing age discrimination
                    24   claim because “merely alleging that the plaintiff is over 40 and that other employees were not
                         subject to the same employment action . . . is not enough to state a claim absent other facts that
                    25   connect the employment action to her age); Sidlow v. Nexstar Broad., Inc., 2015 WL 1044763, at
                    26   *4 (E.D. Cal. Mar. 10, 2015) (“The Court finds that Plaintiffs failed to make a prima facie case of
                         disparate treatment based on age because they have failed to show that the persons who decided
                    27   to terminate them had discriminatory motives for making this decision. Plaintiffs simply point to
                         a policy that has an allegedly disparate impact on employees over the age of 40.”).
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  SAN FRANCISCO
                                                   DEFENDANTS’ MOTION TO DISMISS OR STRIKE
                          Case 3:22-cv-00348-JSC Document 10 Filed 02/08/22 Page 19 of 29



                     1   competent to perform her duties” was insufficient to state claim); Vizcaino v. Areas USA, Inc.,

                     2   2015 WL 13573816, at *4 (C.D. Cal. Apr. 17, 2015) (dismissing disparate treatment claim

                     3   because plaintiff “merely includes conclusory allegations … that he was performing his job

                     4   competently, without offering any facts in support of that conclusion”).

                     5          B.      The Complaint Fails to Plead Facts Sufficient to Support a Plausible
                     6                  Disparate Impact Claim (First Cause of Action).
                                Disparate impact claims “involve employment practices that are facially neutral in their
                     7
                         treatment of different groups but that in fact fall more harshly on one group than another . . .”
                     8
                         Int’l Bhd. of Teamsters v. United States, 431 U.S. 324, 335 (1977). To allege a prima facie
                     9
                         disparate impact claim under FEHA, “a plaintiff must allege . . ., usually through statistical
                    10
                         disparities, that facially neutral employment practices adopted without a deliberately
                    11
                         discriminatory motive nevertheless have significant adverse effects on protected groups that they
                    12
                         are in operation . . . functionally equivalent to intentional discrimination.” Mahler v. Jud. Council
                    13
                         of California, 67 Cal. App. 5th 82, 113 (2021) (internal quotation marks omitted) (citing Jumaane
                    14
                         v. City of Los Angeles, 241 Cal. App. 4th 1390, 1404-1405 (2015)).
                    15
                                As the Supreme Court explained the first time it recognized the viability of a disparate
                    16
                         impact claim under the ADEA, “it is not enough to simply allege that there is a disparate impact
                    17
                         on workers, or point to a generalized policy that leads to such an impact. Rather, the employee is
                    18
                         ‘responsible for isolating and identifying the specific employment practices that are allegedly
                    19
                         responsible for any observed statistical disparities.’” Smith v. City of Jackson, 544 U.S. 228, 241
                    20
                         (2005) (quoting Wards Cove Packing Co. v. Atonio, 490 U.S. 642, 656 (1989)); see also
                    21
                         Stockwell, 749 F.3d at 1114 (explaining that the standard for asserting a prima facie disparate
                    22
                         impact claim under FEHA is “parallel to that under the ADEA”); Clausnitzer v. Fed. Express
                    23
                         Corp., 2008 WL 11333470, at *4, 11 (C.D. Cal. Mar. 18, 2008) (same).
                    24
                                The Ninth Circuit has stressed that “‘[i]dentifying a specific practice is not a trivial
                    25
                         burden’ in age discrimination cases alleging disparate impact.” Stockwell, 749 F.3d at 1114
                    26
                         (quoting Meacham v. Knolls Atomic Power Lab., 554 U.S. 84, 101 (2008)). As a result,
                    27
                         “[p]laintiffs generally cannot attack an overall decisionmaking process in the disparate impact
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MORGAN, LEWIS &
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 ATTORNEYS AT LAW                                                        -9-                          Case No. 3:22-cv-00348-JSC
  SAN FRANCISCO
                                                   DEFENDANTS’ MOTION TO DISMISS OR STRIKE
                          Case 3:22-cv-00348-JSC Document 10 Filed 02/08/22 Page 20 of 29



                     1   context, but must instead identify the particular element or practice within the process that causes

                     2   an adverse impact.” Durante v. Qualcomm, Inc., 144 F. App’x. 603, 606 (9th Cir. 2005) (quoting

                     3   Stout v. Potter, 276 F.3d 1118, 1124 (9th Cir. 2002)); Am. Fed’n of State, Cty., & Mun. Emps.,

                     4   AFL-CIO (AFSCME), 770 F.2d at 1405 (“Disparate impact analysis is confined to cases that

                     5   challenge a specific, clearly delineated employment practice applied at a single point in the job

                     6   selection process.”).

                     7          Here, Plaintiff’s disparate impact claim fails because she does not isolate and identify a

                     8   specific employment practice responsible for the purported disparate outcomes, nor does she

                     9   plead any facts to support an inference of causation.
                    10                  1.       Plaintiff Does Not Isolate and Identify a Specific Employment Practice
                                                 to Challenge with a Disparate Impact Claim.
                    11
                                Plaintiff does not isolate and identify a specific employment practice to challenge with her
                    12
                         disparate impact claim. Without alleging any fact about the actual productivity standards that
                    13
                         Amazon applied to her or others, she purports to challenge “any” Amazon policy or practice
                    14
                         regarding a rate of production “and/or” a work production quota in California. Compl. ¶ 34; see
                    15
                         also id. at ¶¶ 20, 24 (challenging a plurality of “policies and practices”). But she cannot state a
                    16
                         plausible disparate impact claim by ambiguously gesturing at any employment practice related to
                    17
                         “productivity” or “quotas” that applied to an open-ended range of job duties that include “among
                    18
                         other things . . . packing, stowing, and sorting of packages and filling and emptying of boxes and
                    19
                         bins and containers.” Id. ¶ 23 (emphasis added). Nor can Plaintiff state a plausible disparate
                    20
                         impact claim by invoking the colloquial “and/or” to artificially tie various unidentified policies
                    21
                         and practices together. The law is clear that a plaintiff must target one or more specific
                    22
                         components of the employer’s decision-making process rather than a “generalized policy” as a
                    23
                         whole. Smith, 544 U.S. at 241; Stockwell, 749 F.3d at 1114.
                    24
                                Here, Plaintiff goes in the opposite direction—toward greater abstraction—by attacking an
                    25
                         amalgamation of unidentified general policies relating to any “rate of production . . . and/or work
                    26
                         production quota” across Amazon’s California workforce. Compl. ¶ 34. Such amorphous
                    27
                         allegations are not the material from which a disparate impact claim is built. See, e.g., Duarte v.
                    28
MORGAN, LEWIS &
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 ATTORNEYS AT LAW                                                        - 10 -                      Case No. 3:22-cv-00348-JSC
  SAN FRANCISCO
                                                    DEFENDANTS’ MOTION TO DISMISS OR STRIKE
                          Case 3:22-cv-00348-JSC Document 10 Filed 02/08/22 Page 21 of 29



                     1   Quality Loan Serv. Corp., 2018 WL 2121800, at *5 (C.D. Cal. May 8, 2018) (dismissing

                     2   disparate impact claims because, “[w]hile Plaintiffs do allege that Defendants reported Plaintiffs’

                     3   delinquency to the credit reporting agencies ‘as part of their collection process,’ Plaintiffs fail to

                     4   allege any facts relating to a specific practice, policy, or selection criterion that Defendants

                     5   followed in preparing and sending reports to the credit reporting agencies.”); Enoh v. Hewlett

                     6   Packard Enter. Co., 2018 WL 3377547, at *14 (N.D. Cal. July 11, 2018) (allegation that the

                     7   defendant “‘allowed an overwhelmingly Caucasian group of selectors to use a ‘hazy’ selection

                     8   process for its employment decisions,’ is too vague to support Plaintiffs’ [age-based] disparate

                     9   impact claims.”).
                    10                   2.      Plaintiff Alleges No Facts Regarding the Critical Causation Element.
                    11           A disparate impact claim carries a “robust causality requirement,” which ensures an

                    12   observed disparity “does not, without more, establish a prima facie case of disparate impact.”

                    13   Mahler, 67 Cal. App. 5th at 113 (quoting Texas Dept. of Housing & Community Affairs v.

                    14   Inclusive Communities Project, Inc., 576 U.S. 519, 542 (2015). To avoid dismissal, a complaint

                    15   “must allege facts or statistical evidence demonstrating a causal connection between the

                    16   challenged policy and a significant disparate impact on the allegedly protected group.” Mahler,

                    17   67 Cal. App. 5th at 114.

                    18           In Mahler, the plaintiffs were retired California Superior Court judges who challenged

                    19   revisions to the state’s Temporary Assigned Judges Program that included a 1,320-day limit on
                    20   service in the program. 67 Cal. App. 5th at 98-99. The plaintiffs asserted that the revised

                    21   program disadvantaged them by comparison to younger participants, but their complaint alleged

                    22   “no specifics as to the total number of participants in the [program], or the number of participants

                    23   allegedly adversely impacted by the challenged changes to the program, or even the age group

                    24   allegedly adversely impacted. Nor are there any basic allegations of statistical methods and

                    25   comparison, or even any anecdotal information of a significant age-based disparity.” Id. at 115

                    26   (internal quotes omitted). Faced with these pleading “infirmities,” the Court of Appeal concluded

                    27   that the plaintiffs failed to state a disparate impact claim. Id.

                    28           Similarly, in this case Plaintiff offers no figure, statistic, document, or even anecdote to
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                         - 11 -                       Case No. 3:22-cv-00348-JSC
  SAN FRANCISCO
                                                    DEFENDANTS’ MOTION TO DISMISS OR STRIKE
                             Case 3:22-cv-00348-JSC Document 10 Filed 02/08/22 Page 22 of 29



                     1   support a plausible inference of causation. She rests her claim entirely on the conclusory

                     2   allegation that “employees aged 40 and over could not keep up” with Amazon’s performance

                     3   standards, which supposedly prompted Amazon to subject older employees to an array of adverse

                     4   employment actions at a disproportionate rate compared to younger workers. Compl. ¶ 47.

                     5   These allegations amount to no more than Plaintiff’s own stereotype that older workers are slower

                     6   than younger workers,4 coupled with speculation that Amazon’s performance standards generate

                     7   significant age-based disparities as a result. Thus, the Complaint does not come close to

                     8   adequately pleading the critical causation element, and Plaintiff’s disparate impact claim fails.

                     9   See, e.g., Baker v. City of San Diego, 463 F. Supp. 3d 1091, 1103 (S.D. Cal. 2020) (dismissing
                    10   disparate impact claim for failure “to allege any casual connection between waiving development

                    11   impact fees and the statistical data. Plaintiffs have failed to establish a robust causal connection

                    12   between the statistical disparity and the City’s policy.”); Enoh, 2018 WL 3377547, at *14

                    13   (dismissing disparate impact claim because the complaint did not “allege facts to show that the

                    14   challenged policy played a role in the decision to terminate or fail to promote or hire them.”)

                    15           C.     Plaintiff’s FEHA Claim for Failure to Prevent or Correct Discrimination
                    16                  Fails Along with Her Underlying Discrimination Claims (Second Cause of
                                        Action).
                    17
                                 A “failure to prevent or correct” claim requires a predicate violation. Trujillo v. North
                    18
                         County Transit Dist., 63 Cal. App. 4th 280, 286–89 (1998). Thus, when a complaint fails to state
                    19
                         a claim for discrimination, retaliation, or harassment under FEHA, a tagalong “failure to prevent
                    20
                         or correct” claim fails too. Hicks v. Netflix, Inc., 2020 WL 2463380, at *5 (C.D. Cal. Mar. 19,
                    21
                         2020) (explaining that failure to prevent claim and FEHA claim would “rise and fall together” on
                    22
                         motion to dismiss); Airy v. City of Hesperia, 2019 WL 8017811, at *4 (C.D. Cal. Sept. 13, 2019)
                    23
                         (dismissing failure to prevent claim because no actionable discrimination, harassment or
                    24

                    25   4
                           The purpose of FEHA’s prohibition on age discrimination is to redress, rather than endorse,
                         Plaintiff’s stereotype of older workers. See 2 C.C.R § 11074 (“Statement of Purpose. The
                    26   purpose of the law prohibiting age discrimination in employment is to guarantee all protected
                         individuals 40 or over employment opportunities commensurate with their abilities. These
                    27   regulations are promulgated to assure that employment opportunities for those protected persons
                         over the age of 40 are based upon their abilities and are not conditioned upon age-based
                    28   stereotypes and unsupported generalizations about their qualifications or job performance”).
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                        - 12 -                       Case No. 3:22-cv-00348-JSC
  SAN FRANCISCO
                                                    DEFENDANTS’ MOTION TO DISMISS OR STRIKE
                          Case 3:22-cv-00348-JSC Document 10 Filed 02/08/22 Page 23 of 29



                     1   retaliation claim was sufficiently pleaded); Ayala v. Frito Lay, Inc., 263 F. Supp. 3d 891, 907

                     2   (E.D. Cal. 2017) (dismissing failure to prevent disability discrimination claim where plaintiff had

                     3   failed to sufficiently allege underlying disability discrimination); Abdul-Haqq v. Kaiser

                     4   Emergency in San Leandro, 2017 WL 1549480, at *8 (N.D. Cal. May 1, 2017) (dismissing failure

                     5   to prevent claims “because plaintiff has not sufficiently pleaded that any protected harassment or

                     6   discrimination occurred”). Those are the circumstances here. Plaintiff has not stated an age

                     7   discrimination claim, as explained above, so she has not stated a “failure to prevent or correct”

                     8   claim either.

                     9          D.       Plaintiff Cannot Maintain Her Claim for Violation of California’s Unfair
                    10                   Competition Law (Third Cause of Action).
                                Like her claim for failure to prevent or correct discrimination, Plaintiff’s claim for
                    11
                         violation of California’s Unfair Competition Law is purely derivative of her discrimination claims
                    12
                         and fails along with them. See, e.g., Asencio v. Miller Brewing Co., 283 F. App’x. 559, 561 (9th
                    13
                         Cir. 2008) (affirming dismissal of derivative UCL claim where the complaint failed to adequately
                    14
                         allege a FEHA claim); Fragada v. United Airlines, Inc., 2017 WL 4586933, at *8-9 (C.D. Cal.
                    15
                         June 13, 2017) (holding a UCL claim failed because the underlying FEHA claim failed).
                    16
                                In addition, Plaintiff’s UCL claim fails because she has not alleged, and cannot allege, that
                    17
                         she lacks an adequate remedy at law. When a state law claim for equitable relief is in federal
                    18
                         court, “the necessary prerequisite for a court to award equitable remedies is the absence of an
                    19
                         adequate remedy at law.” Barranco v. 3D Sys. Corp., 952 F.3d 1122, 1129 (9th Cir. 2020). It
                    20
                         follows that a plaintiff cannot maintain a UCL claim unless she lacks an adequate legal remedy
                    21
                         because the UCL provides only equitable remedies. Sonner v. Premier Nutrition Corp., 971 F.3d
                    22
                         834, 844 (9th Cir. 2020) (“we hold that the traditional principles governing equitable remedies in
                    23
                         federal courts, including the requisite inadequacy of legal remedies, apply when a party requests
                    24
                         restitution under the UCL and CLRA in a diversity action.”); see also, e.g., Mish, 2021 WL
                    25
                         4592124, at *6 (applying Sonner and dismissing derivative UCL claim in wage and hour case);
                    26
                         Hassell v. Uber Techs., Inc., 2020 WL 7173218, at *8 (N.D. Cal. Dec. 7, 2020) (same). Because
                    27
                         Plaintiff’s Complaint alleges no facts showing that the legal remedies available to her under
                    28
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                       - 13 -                       Case No. 3:22-cv-00348-JSC
  SAN FRANCISCO
                                                   DEFENDANTS’ MOTION TO DISMISS OR STRIKE
                             Case 3:22-cv-00348-JSC Document 10 Filed 02/08/22 Page 24 of 29



                     1   FEHA are inadequate, she fails to state a UCL claim. Compl. ¶¶ 59-65.5

                     2           Finally, Plaintiff cannot pursue injunctive relief under the UCL because she is no longer

                     3   an Amazon employee. Wal–Mart Stores, Inc. v. Dukes, 564 U.S. 338, 364 (2011)

                     4   (acknowledging that those plaintiffs no longer employed by the defendant “lack standing to seek

                     5   injunctive or declaratory relief against its employment practices.”); Slayman v. FedEx Ground

                     6   Package Sys., Inc., 765 F.3d 1033, 1048 (9th Cir. 2014) (“Because none of the Slayman class’s

                     7   named plaintiffs worked for FedEx at the time the complaint was filed, the Slayman class lacked

                     8   Article III standing to seek prospective relief.”); Ellis v. Costco Wholesale Corp., 657 F.3d 970,

                     9   986 (9th Cir. 2011).6
                    10           E.     Plaintiff Cannot Pursue Time-Barred Individual and Class Claims.
                    11           California Government Code section 12960 governs the deadline for employees to submit

                    12   FEHA complaints. Prior to January 1, 2020, an employee had one year from the date of a

                    13   discriminatory employment act to file a DFEH charge. 2017 Cal. Legis. Serv. Ch. 799 (A.B.

                    14   1556) (WEST). In the 2019-20 legislative session, California enacted Assembly Bill 9 (“AB 9”).

                    15   The legislation amended section 12960, effective January 1, 2020, by extending the deadline for

                    16   an employee to file a DFEH charge from one year to three years. Stats. 2019, ch. 709, §§ 1, 3.

                    17   But AB 9 expressly states, “[t]his act shall not be interpreted to revive lapsed claims.” Id. § 3;

                    18   Streets v. Space Sys./Loral, LLC, 2021 WL 4146962, at *4 (N.D. Cal. Sept. 13, 2021) (AB 9 “did

                    19   not (and should not be interpreted to) revive lapsed claims.”); Barnett v. Kapla, 2020 WL
                    20   7428321, at *20 (N.D. Cal. Dec. 18, 2020) (same).7

                    21

                    22
                         5
                          Although Plaintiff purports to seek “disgorgement” of Amazon’s allegedly “unfairly obtained
                    23   profits,” Compl. ¶ 64, “nonrestitutionary disgorgement” is not an available remedy under the
                         UCL. Korea Supply Co. v. Lockheed Martin Corp., 29 Cal. 4th 1134, 1151-52 (2003).
                    24
                         6
                           See also Mish, 2021 WL 4592124, at *7-8 (holding former employee lacked standing to pursue
                    25   injunctive relief under the UCL); Ahmed v. W. Ref. Retail, LLC, 2021 WL 2548958, at *7 (C.D.
                         Cal. 2021) (dismissing request for UCL injunctive relief because Plaintiff, a former employee,
                    26
                         failed to establish a “personal need for prospective injunctive relief against Defendant.”).
                    27   7
                           AB 9 reorganized Government Code §12960. The previous version of the statute stated the one-
                         year exhaustion period in subsection (d). The amended and current version of the statute states the
                    28   three-year exhaustion period in subsection (e).
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                        - 14 -                      Case No. 3:22-cv-00348-JSC
  SAN FRANCISCO
                                                   DEFENDANTS’ MOTION TO DISMISS OR STRIKE
                          Case 3:22-cv-00348-JSC Document 10 Filed 02/08/22 Page 25 of 29



                     1
                                        1.      Plaintiff’s Claims Predicated on Her Tenure with Amazon that Ended
                     2                          in October 2018 are Time-Barred.
                     3          Plaintiff alleges that she had two separate tenures working at Amazon. She first worked at
                     4   an Amazon warehouse in Sycamore Canyon, California and “was terminated in October 2018.”
                     5   Compl. ¶¶ 19, 26. Amazon re-hired her at a fulfillment center in Moreno Valley, California in
                     6   2019, and she “was again terminated in October 2019.” Id. ¶¶ 28, 32.
                     7          Plaintiff’s deadline to file a DFEH charge related to her first tenure at Amazon lapsed in
                     8   October 2019—one year after her termination in October 2018—under the then-effective version
                     9   of section 12960 that carried a one-year limitations period. 2017 Cal. Legis. Serv. Ch. 799 (A.B.
                    10   1556) (WEST). Plaintiff did not file her DFEH charge until October 4, 2021—three years after
                    11   her initial termination in October 2018. Compl. ¶ 18. Thus, the Court must dismiss or strike the
                    12   Complaint’s claims predicated on Plaintiff’s first tenure of employment at Amazon because those
                    13   claims are time-barred. Streets, 2021 WL 4146962, at *7 (N.D. Cal. Sept. 13, 2021) (“Streets’
                    14   employment was terminated on June 28, 2018, and he therefore had until June 28, 2019 to file his
                    15   charge for retaliatory termination. He failed to do so. And because the time within which to file a
                    16   charge lapsed before the January 1, 2020 amendment, Streets does not benefit from the three-year
                    17   extension. Cal. Gov’t Code § 12960; 2018 Cal AB 9.”)
                    18                  2.      The Court Should Strike the Putative Class Definition as Overbroad
                                                Because Claims that Pre-Date January 1, 2019 are Time-Barred.
                    19
                                The single filing rule allows absent class members to “piggyback” on a DFEH charge
                    20
                         filed by the named plaintiff in a class action. Harris v. Cty. of Orange, 682 F.3d 1126, 1137 (9th
                    21
                         Cir. 2012). Under this rule, the date of the named plaintiff’s charge determines the outer temporal
                    22
                         bounds of the class period. Id.; Arizona ex rel. Horne v. Geo Grp., Inc., 816 F.3d 1189, 1203 (9th
                    23
                         Cir. 2016) (in the context of the 300-day exhaustion period for a Title VII claim, “[t]he proper
                    24
                         starting date of the EEOC and Division's class action is 300 days prior to [plaintiff’s] charge”).
                    25
                         But the named plaintiff may use her charge to represent only those “class members whose claims
                    26
                         were not already time-barred at the time [s]he filed h[er] charge.” Domingo v. New England Fish
                    27
                         Co., 727 F.2d 1429, 1442 (9th Cir.), modified, 742 F.2d 520 (9th Cir. 1984); Church v. Consol.
                    28
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                       - 15 -                       Case No. 3:22-cv-00348-JSC
  SAN FRANCISCO
                                                   DEFENDANTS’ MOTION TO DISMISS OR STRIKE
                             Case 3:22-cv-00348-JSC Document 10 Filed 02/08/22 Page 26 of 29



                     1   Freightways, Inc., 137 F.R.D. 294, 309 (N.D. Cal. 1991) (limiting temporal scope of ADEA

                     2   collective action to “prevent[] the resurrection of claims which could not be brought because they

                     3   were not filed on time.”); Enoh, 2018 WL 3377547, at *14 (striking the overbroad class definition

                     4   because “[t]he named plaintiff in a Title VII class action ‘may represent only those similarly

                     5   situated individuals who either have filed timely charges with the EEOC or who could have filed

                     6   a timely charge on the same date as the named plaintiff.’”) (quoting Church, 137 F.R.D. at 309).

                     7           Here, Plaintiff purports to represent a class that extends back to December 15, 2017—four

                     8   years prior to the date that she filed her Complaint. Compl. ¶ 34. This purported class period is

                     9   overbroad. The date of Plaintiff’s FEHA charge determines the temporal scope of her individual
                    10   and putative class claims. Arizona ex rel. Horne, 816 F.3d at 1203. As noted above, the three-

                    11   year exhaustion period for a FEHA claim under AB 9 did not take effect until January 1, 2020,

                    12   and AB 9 did not revive time-barred claims. Stats. 2019, ch. 709, §§ 1, 3; Streets, 2021 WL

                    13   4146962, at *7 (N.D. Cal. Sept. 13, 2021). Thus, any claim that arose on or before December 31,

                    14   2018 is time-barred because it expired (based on the then-applicable one-year exhaustion period)

                    15   on or before December 31, 2019—the day before AB 9 took effect. As a result, the purported

                    16   class period cannot extend back prior to January 1, 2019. Domingo, 727 F.2d at 1442; Arizona ex

                    17   rel. Horne, 816 F.3d at 1203; Church, 137 F.R.D. at 309; Enoh, 2018 WL 3377547, at *14.8

                    18           F.     The Court Should Strike or Dismiss the Class Claims Because the Complaint
                    19                  Pleads No Facts That Plausibly Suggest She Is Similarly Situated to Members
                                        of the Class.
                    20
                                 Class claims “must be supported by sufficient factual allegations demonstrating that the
                    21
                         class device is appropriate and discovery on class certification is warranted.” Jue v. Costco
                    22
                         Wholesale Corp., 2010 WL 889284, at *6 (N.D. Cal. Mar. 11, 2010); Zamora, 2021 WL 809403,
                    23
                         at *3 (dismissing class claims for lack of supporting allegations because “Plaintiffs cannot point
                    24
                         to a fish in the surf to force Defendant on a deep-sea charter [of class discovery]”). An essential
                    25
                         8
                    26     Plaintiff pleads a four-year class period based on the four-year statute of limitations for a UCL
                         claim. But as explained above, her UCL claim fails. See supra at § IV.D. Thus, even if Plaintiff
                    27   could pursue class claims that accrued prior to December 31, 2018, which she cannot, the putative
                         class period could not start prior to October 4, 2018 (i.e., three years before she filed her DFEH
                    28   charge on October 4, 2021). Compl. ¶ 18.
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                       - 16 -                      Case No. 3:22-cv-00348-JSC
  SAN FRANCISCO
                                                   DEFENDANTS’ MOTION TO DISMISS OR STRIKE
                          Case 3:22-cv-00348-JSC Document 10 Filed 02/08/22 Page 27 of 29



                     1   element of the class device is that the named plaintiff’s “claims must depend on a common

                     2   contention” and “[t]hat common contention . . . must be of such a nature that it is capable of

                     3   class-wide resolution—which means that determination of its truth or falsity will resolve an issue

                     4   that is central to the validity of each one of the claims in one stroke.” Dukes, 564 U.S. at 350

                     5   (emphasis added). Plaintiff has not plausibly alleged commonality.

                     6          To meet the commonality requirement under the Twombly/Iqbal standard, a named

                     7   plaintiff in a putative class action “must do more than conclude that Defendants have a policy and

                     8   practice to violate California labor laws.” Bush v. Vaco Tech. Servs., LLC, 2018 WL 2047807, *7

                     9   (N.D. Cal. May 2, 2018) (dismissing class claims). Yet that is precisely what Plaintiff does here.
                    10   The only common question she raises is “whether Amazon’s policy and practice of applying a

                    11   standard, required ‘rate of production’ and or work production quota to all employees that

                    12   disproportionally affects employees over the age of 40 violates California laws[.]” Compl. ¶ 38.

                    13   Further underscoring this pleading deficiency is the fact that Plaintiff does not limit her putative

                    14   class definition to the productivity standards that Amazon applied to her. Instead, she purports to

                    15   plead class claims on behalf of every older employee in California who was subject to “any

                    16   policy or practice of Amazon regarding ‘rate of production’ for their work and/or work

                    17   production quotas.” Id. ¶ 34; see also supra at § IV.B.1.

                    18          Courts in the Ninth Circuit frequently dismiss class allegations where, as here, the named

                    19   plaintiff fails to allege facts that plausibly suggest putative class members were subject to the
                    20   same policies or had sufficiently similar work experiences. See, e.g., Zamora, 2021 WL 809403,

                    21   at *3; Mish, 2021 WL 4592124, at *9 (dismissing unpaid wage claims on behalf of class where

                    22   plaintiff failed to allege details about her worksite, location, other employees at her location,

                    23   whether her role was the same or different than others at the company, whether her worksite was

                    24   typical of other worksites, how many worksites there were in California or details that could

                    25   allow an inference that plaintiff’s experience was typical of the class); Alvarado v. Wal-mart

                    26   Assocs., Inc., 2020 WL 6526372, at *3 (C.D. Cal. Aug. 7, 2020) (dismissing class action

                    27   allegations where plaintiff had not alleged “she has any knowledge of employment practices”

                    28   across California or “specific facts” showing that employees at her location had the same
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                        - 17 -                       Case No. 3:22-cv-00348-JSC
  SAN FRANCISCO
                                                    DEFENDANTS’ MOTION TO DISMISS OR STRIKE
                             Case 3:22-cv-00348-JSC Document 10 Filed 02/08/22 Page 28 of 29



                     1   experiences).9 The Court should do the same thing here.

                     2           G.     The Complaint Lacks Facts Sufficient to Support Claims Against
                                        Amazon.com Inc. and Amazon Web Services, Inc.
                     3
                                 “A plaintiff seeking to hold multiple entities liable as joint employers must plead specific
                     4
                         facts that explain how the defendants are related and how the conduct underlying the claims is
                     5
                         attributable to each.” Andrade v. Arby’s Rest. Grp., Inc., 2015 WL 6689475, at *2 (N.D. Cal.
                     6
                         Nov. 3, 2015) (quoting Freeney v. Bank of Am. Corp., 2015 WL 4366439, at *18 (C.D. Cal. July
                     7
                         16, 2015)) (dismissing employment claims against franchisor because Plaintiff failed to allege
                     8
                         that the franchisor controlled his employment). In determining whether a defendant is a joint
                     9
                         employer under FEHA, courts consider the totality of the circumstances bearing on the nature of
                    10
                         the work relationship of the parties, focusing on the level of control that the defendant exercises
                    11
                         over a plaintiff’s performance of her job duties. Hall v. Apartment Inv. & Mgmt. Co., 2011 WL
                    12
                         940185, at *5 (N.D. Cal. Feb. 18, 2011) (enumerating relevant factors); Vernon v. State, 116 Cal.
                    13
                         App. 4th 114, 124 (2004).
                    14
                                 Here, Plaintiff alleges her claims against her former employer, Amazon.com Services
                    15
                         LLC, along with Amazon.com Inc. and Amazon Web Services, Inc. But her complaint is devoid
                    16
                         of any facts—let alone “specific facts”—suggesting Amazon.com Inc. or Amazon Web Services,
                    17
                         Inc. exercised control over her employment. See, e.g., Compl. ¶¶ 8, 10-27. Instead, she relies on
                    18
                         generic boilerplate language that each of the Defendants is a “joint employer.” Id. ¶ 15. That is
                    19
                         not nearly enough. Thus, the Court should dismiss Plaintiff’s claims against Amazon.com Inc.
                    20
                         and Amazon Web Services, Inc. See Bayne v. Bowles Hall Found., 2021 WL 3426921, at *17
                    21
                         (N.D. Cal. Aug. 5, 2021) (dismissing claims against University regents because plaintiff failed to
                    22
                         allege sufficient facts that they controlled plaintiff’s employment to support that they were joint
                    23
                         employers); Valencia v. N. Star Gas Co., 291 F. Supp. 3d 1155, 1159 (S.D. Cal. 2018)
                    24
                         9
                    25     See also, e.g., Bush, 2019 WL 3290654, at *5 (dismissing class claims and finding that
                         “[w]ithout a single non-conclusory, factual allegation about these potential class members,
                    26   Plaintiff has not plausibly alleged that any of these employees experienced the same alleged
                         violations as Plaintiff”); Byrd v. Masonite Corp., 2016 WL 756523, at *4 (C.D. Cal. Feb. 25,
                    27   2016) (dismissing class claims where “Plaintiff alleges no facts to demonstrate or even suggest
                         that any member of the putative class had similar work experiences” or to “show[ ] that
                    28   Defendants had statewide policies or practices giving rise to Plaintiff's causes of action”).
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                        - 18 -                      Case No. 3:22-cv-00348-JSC
  SAN FRANCISCO
                                                   DEFENDANTS’ MOTION TO DISMISS OR STRIKE
                          Case 3:22-cv-00348-JSC Document 10 Filed 02/08/22 Page 29 of 29



                     1   (dismissing California Labor Code claims because the plaintiff failed adequately to allege a joint-

                     2   employer relationship).

                     3   V.     CONCLUSION
                     4          At bottom, the Complaint is little more than a series of conclusory assertions that fail to

                     5   state a cognizable age discrimination claim (or derivative claim) or any plausible class claim.

                     6   The Complaint also erroneously attempts to assert time-barred individual and class claims, and to

                     7   name two non-employing Amazon entities as Defendants without providing any basis for

                     8   inferring that either of them employed Plaintiff or members of the putative class. The Court

                     9   should therefore dismiss each of Plaintiff’s claims and dismiss or strike her class allegations.
                    10
                         Dated: February 8, 2022                             MORGAN, LEWIS & BOCKIUS LLP
                    11

                    12
                                                                             By /s/ Brian D. Berry
                    13                                                          Brian D. Berry
                                                                                Sarah Zenewicz
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                    15                                                          AMAZON.COM INC., AMAZON.COM
                                                                                SERVICES LLC, AND AMAZON WEB
                    16                                                          SERVICES, INC.
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MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                        - 19 -                      Case No. 3:22-cv-00348-JSC
  SAN FRANCISCO
                                                   DEFENDANTS’ MOTION TO DISMISS OR STRIKE
